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 1   DANIEL L. KELLER (SBN 191738)
     STEPHEN M. FISHBACK (SBN 191646)
 2   DAN C. BOLTON (SBN 104236)
     KELLER, FISHBACK & JACKSON LLP
 3   28720 Canwood Street, Suite 200
 4   Agoura Hills, CA 91301
     Telephone: 818.342.7442
 5   Facsimile: 818.342.7616
     Email: dkeller@kfjlegal.com
 6   Email: sfishback@kfjlegal.com
     Email: dbolton@kfjlegal.com
 7
 8   Attorneys for Plaintiffs Julie Hamilton, Jerad Hamilton,
     Lyle McLean, Sam Flowers, Nestor Diaz, George Armstrong,
 9   and the Proposed Nationwide Class and State Classes
10
                            UNITED STATES DISTRICT COURT
11
12                        CENTRAL DISTRICT OF CALIFORNIA
13
14    JULIE HAMILTON, JERAD                          Case No.: 2:17-cv-01060-DMG-JEM
15
      HAMILTON, LYLE MCLEAN, SAM
      FLOWERS, NESTOR DIAZ, and                      FIRST AMENDED CLASS
16    GEORGE ARMSTRONG, individually                 ACTION COMPLAINT
17    and on behalf of all others similarly
      situated,                                      DEMAND FOR JURY TRIAL
18
19                  Plaintiffs,
20
           vs.
21
22    TBC CORPORATION, DYNAMIC
      TIRE CORPORATION, and DOES 1-
23    10,
24
                      Defendants.
25
26
27
28




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 1           1.    Plaintiffs, Julie Hamilton, Jerad Hamilton, Lyle McLean, Sam Flowers,
 2    Nestor Diaz and George Armstrong (“Plaintiffs”), bring this action on behalf of
 3    themselves and all other persons similarly situated in the United States who
 4    purchased or otherwise acquired a Power King Towmax STR trailer tire (“Class
 5    Tires”), and allege as follows on personal knowledge as to all facts related to
 6    themselves, and upon information and belief as to all other matters.
 7                                           PARTIES
 8           2.    Plaintiffs Julie Hamilton and Jerad Hamilton are a residents and citizens
 9    of Loomis, California. On or about April 24, 2016, Plaintiffs Julie Hamilton and
10    Jerad Hamilton experienced a tread separation of a Power King Towmax STR trailer
11    tire while driving with their fifth-wheel trailer on Interstate 80 in Vacaville,
12    California. Plaintiffs Julie Hamilton and Jerad Hamilton did not know that the tire
13    contained a defect, was not safe and durable, and would not perform under ordinary
14    driving conditions.
15           3.    Plaintiff Lyle McLean is a resident and citizen of Casa Grande, Arizona.
16    On or about March 30, 2016, Plaintiff Kyle McLean experienced a tread separation of
17    a Power King Towmax STR trailer tire while driving with his fifth-wheel trailer. He
18    experienced a second tread separation of a Power King Towmax STR trailer tire
19    while driving with his fifth-wheel trailer on October 3, 2016. Plaintiff McLean did
20    not know that the tires contained a defect, were not safe and durable, and would not
21    perform under ordinary driving conditions.
22           4.    Plaintiff Sam Flowers is a resident and citizen of Golden, Colorado. On
23    or about May 3, 2015, Plaintiff Flowers experienced a tread separation of a Power
24    King Towmax STR trailer tire while driving with his fifth-wheel trailer in Florida.
25    He experienced a second tread separation of a Power King Towmax STR trailer tire
26    while driving his fifth-wheel trailer on May 12, 2015, in Kansas City, Missouri.
27    Plaintiff Flowers did not know the tires contained a defect, were not safe and durable,
28    and would not perform under ordinary driving conditions.



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 1           5.    Plaintiff Nestor Diaz is a resident and citizen of Miami, Florida. In or
 2    about March 2015, Plaintiff Diaz experienced a tread separation of a Power King
 3    Towmax STR trailer tire during the operation of his fifth-wheel trailer near West
 4    Palm Beach, Florida. He experienced a second tread separation in or about March
 5    2015, near Orlando, Florida. He experienced a third tread separation in or about
 6    April 2017, near West Palm Beach, Florida. Plaintiff Diaz did not know the tires
 7    contained a defect, were not safe and durable, and would not perform under ordinary
 8    driving conditions.
 9           6.    Plaintiff George Armstrong is a resident and citizen of Cuddebackville,
10    New York. In or about April 2017, Plaintiff Armstrong experienced a tread
11    separation of a Power King Towmax STR trailer tire while driving with his fifth-
12    wheel trailer in Georgia. He experienced a second tread separation in or about April
13    2017, in Florida. Plaintiff Armstrong did not know the tires contained a defect, were
14    not safe and durable, and would not perform under ordinary driving conditions.
15           7.    Defendant TBC Corporation (“TBC”) is a corporation doing business in
16    all fifty states, and is organized and incorporated under the laws of Delaware. Its
17    principal place of business is in Florida. TBC is a citizen of Delaware and Florida.
18    At all relevant times, TBC designed, manufactured, marketed, distributed, promoted,
19    advertised, warranted and sold the Class Tires throughout the United States. TBC
20    created and distributed the manuals, advertisements, warranties, and other
21    promotional materials relating to the Class Tires.
22           8.    Defendant Dynamic Tire Corporation (“DTC”) is a corporation doing
23    business in all fifty states, and is organized and incorporated under the laws of
24    Canada. Its principal place of business is in Woodbridge, Ontario, Canada. In 2001,
25    DTC opened an office in Tianjin, China, for the purpose of manufacturing tires,
26    including the Class Tires. At all relevant times, DTC designed, manufactured,
27    marketed, distributed, promoted, advertised, warranted and sold the Class Tires
28    throughout the United States. DTC created and distributed the manuals,



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 1    advertisements, warranties, and other promotional materials relating to the Class
 2    Tires.
 3             9.     Plaintiffs do not know the true names and capacities of Defendants sued
 4    in this Complaint as Does 1–10, and therefore sue these Defendants by fictitious
 5    names, pursuant to Cal. Code Civ. Pro. § 474. Plaintiffs will amend this Complaint to
 6    allege the true names and capacities of these Defendants when ascertained. Plaintiffs
 7    are informed and believe, and on that basis allege, that each of the Defendants named
 8    herein as Does 1–10, is responsible in some manner for the events, occurrences,
 9    injuries and damages alleged in this Complaint, and each Claim for Relief set forth in
10    this Complaint is alleged as to all Defendants, including Does 1–10.
11             10.    Plaintiffs are informed and believe, and on that basis allege, that each
12    Defendant was in some manner responsible for the acts and damages alleged herein,
13    and/or participated in the acts and events herein alleged, and that, in participating in
14    such acts, each Defendant was the agent and employee of each other Defendant, and
15    was acting in the course and scope of such agency and employment.
16                                 JURISDICTION AND VENUE
17             11.    This Court has original jurisdiction over this case under the Class Action
18    Fairness Act, 28 U.S.C. § 1332(d)(2) because Plaintiffs and many members of the
19    proposed Class are citizens of states different from Defendants’ home states, and the
20    aggregate amount in controversy in this action exceeds $5,000,000.00, exclusive of
21    interests and costs.
22             12.    This Court has personal jurisdiction over Defendants because
23    Defendants are authorized to conduct business in California, are doing business in
24    California, are registered with the California Secretary of State, and maintain a
25    registered agent in Sacramento, California. Alternatively, Defendants are engaged in
26    systematic and continuous business activity in California, have sufficient minimum
27    contacts in California, or otherwise intentionally avail themselves of the California
28    consumer market through the promotion, marketing, distribution, and sale of the



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 1    Class Tires. This purposeful availment renders the exercise of jurisdiction by this
 2    Court over Defendants appropriate under traditional notions of fair play and
 3    substantial justice.
 4           13. Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) because

 5    Defendants are subject to personal jurisdiction in this District, and a substantial
 6    portion of the events and omissions giving rise to the claims alleged herein occurred
 7    in this District. Moreover, Defendants conduct substantial business in this District,
 8    have marketed, advertised, distributed and sole the Class Tires in this District, and
 9    have caused harm to Class Members residing in this District.
10                                  SUMMARY OF ACTION
11           14. The Power King Towmax STR trailer tire is a private label brand
12    promoted, marketed and distributed by Defendants throughout the United States. The
13    retail tire market is a lucrative one with yearly sales in the multibillion-dollar range.
14    The private label brands, such as the Class Tires, attempt to compete in the market by
15    selling inexpensive tires manufactured overseas that undercut the major tire
16    manufacturers.
17           15. The Class Tires are marketed for use in the distinctly American pastime of
18    packing-up the family and heading off in a travel trailer for a vacation or weekend
19    getaway. The Class Tires are used for trailer applications, including travel trailers
20    and “fifth wheel” trailers (a camping trailer coupled to a pickup truck). Defendants
21    market, advertise and distribute the Class Tires in the United States. The Class Tires
22    are, in fact, manufactured in China. Defendants’ marketing and advertising materials
23    do not disclose that fact nor do the materials identify the Chinese manufacturer.
24           16. Defendants’ marketing and advertising materials state, among other
25    things, that the Class Tires are “the standard in premium trailer tires!” and that the
26    Class Tires have been “specifically designed to deliver long-lasting and dependable
27    performance for trailer applications including travel trailers and fifth wheels.”
28    ///



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 1           17. Defendants’ marketing and advertising materials further represent that
 2    “TBC Brands tires are manufactured to exacting manufacturing standards … second
 3    to none in the industry ….” and that the Class Tires feature “advanced construction
 4    technology for superior strength and durability, as well as an optimized five rib tread
 5    design for maximum ride stability and long tread life.”
 6           18. Defendants’ marketing and advertising materials also tout that the Class
 7    Tires have a “Nationwide Warranty.”
 8           19. In fact, in contrast to Defendants’ representations that the Class Tires are
 9    “long-lasting” and “dependable,” the Class Tires are dangerous and defective and fail
10    under normal operating conditions. Defendants failed to disclose to Plaintiffs, Class
11    Members and the public that the Class Tires have a high rate of failure, particularly
12    from tread separation. The failures of the Class Tires regularly occur on highways,
13    often at high speed and near others, posing serious risks of harm to individuals, as
14    well as property damage.
15           20. As a result of these defects, the Class Tires do not function as reasonable
16    consumers expect when used under ordinary driving conditions. Moreover, Plaintiffs
17    and Class Members will incur additional expenses to replace Class Tires that have not
18    yet failed, but are likely to do so in the future.
19           21. Defendants failed to disclose these material facts to the public and to
20    consumers. If the Plaintiffs and Class Members had known of the defects at the time
21    they purchased or acquired the Class Tires, they would have declined to purchase or
22    acquire the Class Tires since a defective and dangerous trailer tire has a complete loss
23    of value, or, at the very least, would have paid substantially less than they did.
24           22. In sum, Defendants’ deliberate deception and failure to disclose has
25    caused significant harm to Plaintiffs, Class Members and the public. Defendants’
26    promise in its advertising and promotional materials of “safe travels” to those who
27    purchase or acquire the Class Tires rings hollow in light of the defective and
28    dangerous nature of the Class Tires.



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 1                     TOLLING OF THE STATUTE OF LIMITATIONS
 2                                    Fraudulent Concealment
 3             23. Defendants concealed their fraud from Class Members. Upon information
 4    and belief, Defendants have known of the tire failure and tread separation defects in
 5    the Class Tires for many years, and intentionally concealed from or failed to notify
 6    Plaintiffs, Class Members, and the public of the tread separation defect of the Class
 7    Tires.
 8             24. Despite knowing about the tire failure and tread separation defects,
 9    Defendants have never acknowledged the problem to Plaintiffs, Class Members and
 10   the public.
 11            25. Any applicable statute of limitation has therefore been tolled by
 12   Defendants’ knowledge and active concealment of the facts alleged herein.
 13                                            Estoppel
 14            26. Defendants were and are under a continuous duty to disclose to Plaintiffs
 15   and Class Members the true character, quality and nature of the Class Tires. Instead,
 16   Defendants actively concealed the true character, quality, and nature of the Class
 17   Tires, and knowingly made misrepresentations about the quality, reliability,
 18   characteristics, and performance of the Class Tires. Plaintiffs and Class Members
 19   reasonably relied upon Defendant’s knowing and affirmative misrepresentations
 20   and/or active concealment of these facts. Based on the above allegations, Defendants
 21   are estopped from relying on any statutes of limitation in defense of this action.
 22                                        Discovery Rule
 23            27. The causes of action alleged herein did not accrue until Plaintiffs and
 24   Class Members discovered that the Class Tires had a tire failure and/or tread
 25   separation defect, and were not performing as advertised and warranted by
 26   Defendants.
 27   ///
 28   ///



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 1           28. Plaintiffs and Class Members had no realistic ability to discover the
 2    presence of the tire failure or tread separation defect, or to otherwise learn of the
 3    fraud, omissions and concealment, until within the applicable statutes of limitation.
 4                             CLASS ACTION ALLEGATIONS
 5           29.    Plaintiffs bring this lawsuit as a class action on their own behalf and on
 6    behalf of all other persons similarly situated as members of the proposed Nationwide
 7    Class (“Class”) and State Classes (collectively, the “Classes”), pursuant to Federal
 8    Rules of Civil Procedure 23(a), (b)(1), (b)(2), (b)(3) and/or (c)(4). This action
 9    satisfies the numerosity, commonality, typicality, adequacy, predominance, and
 10   superiority requirements of those provisions.
 11          30.    The proposed Classes are defined as:
 12                                      Nationwide Class
 13                 All persons and entities in the United States that purchased or acquired a
 14                 Power King Towmax STR trailer tire (“Class Tires”).
 15                                       California Class
 16                 All persons and entities in California that purchased or acquired
 17                 a Power King Towmax STR trailer tire (“Class Tires”).
 18                                        Arizona Class
 19                 All persons and entities in Arizona that purchased or acquired
 20                 a Power King Towmax STR trailer tire (“Class Tires”).
 21                                       Colorado Class
 22                 All persons and entities in Colorado that purchased or acquired
 23                 a Power King Towmax STR trailer tire (“Class Tires”).
 24                                        Florida Class
 25                 All persons and entities in Florida that purchased or acquired
 26                 a Power King Towmax STR trailer tire (“Class Tires”).
 27                                       New York Class
 28                 All persons and entities in New York that purchased or acquired



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 1                  a Power King Towmax STR trailer tire (“Class Tires”).
 2           31. Excluded from the Nationwide Class and State Classes are a) Defendants,
 3    any entity or division in which Defendants have a controlling interest, and their legal
 4    representatives, officers, directors, assigns, and successors; b) the Judge to whom this
 5    case is assigned and the Judge’s staff, c) governmental entities, d) those persons who
 6    have suffered personal injuries as a result of the facts alleged herein. Plaintiffs
 7    reserve the right to amend the Class definitions if discovery and further investigation
 8    reveal that any Class should be expanded, divided into subclasses, or modified in any
 9    other way.
 10                             Numerosity and Ascertainability
 11          32. Although the exact number of Class Members is uncertain at this time, the
 12   size of the Classes can be estimated to be in the thousands, likely the tens of
 13   thousands, and the number is great enough that joinder of all members is
 14   impracticable. Plaintiffs will determine the exact number and identity of the Class
 15   Members through discovery. The disposition of the claims of the Class Members in a
 16   single action will provide substantial benefits to all parties and to the Court. Class
 17   Members will be readily identifiable through Defendants’ records, as well as the
 18   records of other entities that may have distributed and/or sold the Class Tires.
 19                                          Typicality
 20          33. The claims of the representative Plaintiffs are typical of the claims of the
 21   Class Members in that the representative Plaintiffs, like all Class Members,
 22   purchased or acquired the Class Tires. The representative Plaintiffs, like all Class
 23   Members, have been damaged by Defendants’ conduct in that they have incurred
 24   economic losses relating to the Class Tires. Furthermore, the factual bases of
 25   Defendants’ misconduct are common to all Class Members and represent a common
 26   thread of misconduct resulting in injury to all Class Members.
 27   ///
 28   ///



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 1                                  Adequate Representation
 2           34. Plaintiffs are members of the Nationwide Class, as well as members of
 3    their respective State Classes, and will fairly and adequately represent and protect the
 4    interests of the Class. Plaintiffs have retained counsel with substantial experience in
 5    prosecuting consumer class actions, defective products, and complex litigation.
 6           35. Plaintiffs and their counsel are committed to vigorously prosecuting this
 7    action on behalf of the Classes and have the financial resources to do so. Neither
 8    Plaintiffs nor their counsel have interests adverse to those of the Classes.
 9                              Predominance of Common Issues
 10          36. Numerous questions of law and fact common to Plaintiffs and Class
 11   Members exist that predominate over any question affecting only individual Class
 12   Members. The answers to these common questions will advance resolution of the
 13   litigation as to all Class Members. These common legal and factual issues include:
 14      a. whether Defendants designed, manufactured, advertised, marketed, distributed,
 15         or otherwise placed the Class Tires into the stream of commerce in the United
 16         States;
 17      b. whether the Class Tires contained a defect that occurred under normal
 18         operating conditions;
 19      c. whether Defendants knew or should have known about the tire failure and/or
 20         tread separation defect in the Class Tires;
 21      d. whether the true nature of the Class Tires performance, safety and durability
 22         constitute material facts that reasonable consumers would have considered in
 23         deciding whether to purchase or acquire the Class Tires;
 24      e. whether Defendants made material representations regarding the Class Tires;
 25      f. whether Defendants disseminated misleading advertisements, labels,
 26         warranties, and other promotional materials in an effort to induce Plaintiffs and
 27         Class Members to purchase or acquire the Class Tires;
 28




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 1       g. whether Defendants had a duty to disclose the true nature of the Class Tires to
 2          Plaintiffs and Class Members;
 3       h. whether Defendants misrepresented, omitted, suppressed, and/or failed to
 4          disclose material facts about the Class Tires;
 5       i. whether Defendants’ concealment of the true nature of the Class Tires would
 6          have induced a reasonable consumer to act to their detriment by purchasing or
 7          acquiring the Class Tires;
 8       j. whether Defendants’ wrongdoing and misconduct resulted in unjust enrichment
 9          to Defendants;
 10      k. whether Defendants violated the Magnuson-Moss Warranty Act with respect to
 11         any express warranty made by Defendants;
 12      l. whether Defendants violated the Magnuson-Moss Warranty Act with respect to
 13         any implied warranty made by Defendants;
 14      m. whether Defendants wrongfully failed to recall and/or retrofit the Class Tires;
 15      n. whether Plaintiffs and Class Members are entitled to actual, statutory, and
 16         punitive damages, and other monetary relief;
 17      o. whether Plaintiffs and Class Members are entitled to injunctive relief; and
 18      p. whether Plaintiffs and Class Members are entitled to equitable relief, including
 19         restitution and disgorgement.
 20                                         Superiority
 21          37. Plaintiffs and Class Members have all suffered and will continue to suffer
 22   harm and damages as a result of Defendants’ unlawful and wrongful conduct. A
 23   class action is superior to other available methods for the fair and efficient resolution
 24   of this matter.
 25          38. Absent a class action, most Class Members would likely find the cost of
 26   litigating their claims prohibitively high and would therefore have no effective
 27   remedy at law. Because of the relatively small size of the individual Class Members’
 28   claims, it is likely that only a few Class Members could afford to seek legal redress



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 1    for Defendant’s wrongdoing and misconduct. Without a class action, Class Members
 2    will continue to incur damages and losses, and Defendants’ conduct will continue
 3    without remedy.
 4           39. Class treatment of common questions of law and fact would also be a

 5    superior method to multiple individual actions or piecemeal litigation in that class
 6    treatment will conserve the resources of the courts and the litigants, and will promote
 7    consistency and efficiency of adjudication.
 8          40.   Defendants have acted in a uniform manner with respect to the Plaintiffs
 9    and Class Members.
 10         41.   Classwide declaratory, equitable, and injunctive relief is appropriate under
 11   Rule 23(b)(1) and/or (b)(2) because Defendants have acted on grounds that apply
 12   generally to the class, and inconsistent adjudications with respect to Defendants’
 13   liability would establish incompatible standards and substantially impair or impede
 14   the ability of Class Members to protect their interests. Classwide relief assures fair,
 15   consistent, and equitable treatment and protection of all Class Members, and
 16   uniformity and consistency in Defendants’ discharge of their duties to perform
 17   corrective action regarding the Class Tires.
 18         42.   Plaintiffs cannot be certain of the form and manner of proposed notice to
 19   class Members until the class is finally defined and discovery is completed regarding
 20   the identity of class members. Plaintiffs anticipate, however, that notice by mail will
 21   be given to class members who can be identified specifically. In addition, notice may
 22   be published in appropriate publications, on the internet, in press releases and in
 23   similar communications in a way that is targeted to reach those who may have
 24   purchased or acquired the Class Tires. The cost of notice, after class certification,
 25   trial, or settlement before trial, should be borne by Defendants.
 26   ///
 27   ///
 28   ///



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 1                                    FIRST CLAIM FOR RELIEF
 2                            Common Law Fraud and Violations of
 3                       Cal. Civ. Code sections 1709, 1710, 1572 & 1573
 4                         (Brought on Behalf of the Nationwide Class)
 5          43.   Plaintiffs bring this claim on behalf of themselves and the Nationwide
 6    Class.
 7          44.   Plaintiffs hereby incorporate by reference the allegations contained in the
 8    preceding paragraphs of this amended Complaint.
 9          45.   Defendants engaged in both speaking and silent fraud, and in fraudulent
 10   and deceptive conduct, throughout the Class Period. As described above,
 11   Defendants’ conduct defrauded Plaintiffs and Class Members, intending and leading
 12   them to believe, through affirmative misrepresentations, omissions, suppression and
 13   concealments of material fact, that the Class Tires, marketed by Defendants as safe
 14   and suitable for use on trailers, possessed important characteristics that they in fact
 15   did not possess—namely that they were safe and durable for trailer use, and would
 16   perform in ordinary driving conditions—and inducing the purchase and acquisition of
 17   the Class Tires.
 18         46.   Defendants’ intentional and material misrepresentations included, among
 19   other things, its advertising, marketing materials and messages, and other
 20   standardized promotional statements claiming that the Class Tires were safe and
 21   suitable for use on trailers.
 22         47.   The foregoing misrepresentations were uniform across all Class Members.
 23   The same advertisements were shown to all members of the public generally and the
 24   same marketing materials were distributed to customers and potential customers, and
 25   all of the materials contained the same standardized statements relating to the Class
 26   Tires safety, durability, performance and suitability for use on trailers.
 27         48.   These representations directly contradicted the true nature and hidden
 28   defects of the Class Tires when operating under normal circumstances. Defendants



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 1    knew the representations were false when they made them, and intended to defraud
 2    purchasers thereby.
 3          49.   Defendants also had a duty to disclose, rather than to conceal and to
 4    suppress, the full scope and extent of the safety deception because:
 5          a.     Defendants had exclusive knowledge of the safety and durability of the
 6    Class Tires and concealment thereof;
 7          b.     The details regarding the safety and durability of the Class Tires and
 8    concealment thereof were known and/or accessible only to Defendants;
 9          c.     Defendants knew Plaintiffs and Class Members did not know and could
 10   not reasonably discover the safety and durability hazards in the Class Tires and
 11   concealment thereof; and
 12         d.     Defendants made general representations about the qualities of the Class
 13   Tires, including statements about their performance, safety and durability, which
 14   were misleading, deceptive and incomplete without the disclosure of the fact that the
 15   Class Tires did not possess these attributes.
 16         50.   Defendants’ concealment was likewise uniform across all Class Members
 17   in that Defendants concealed from everyone other than themselves, including
 18   potential customers, the true facts relating to the safety, performance and durability of
 19   the Class Tires.
 20         51.   Defendants’ misrepresentations and omissions were material in that they
 21   would affect a reasonable consumer’s decision to purchase the Class Tires.
 22   Defendants’ conduct, misrepresentations, omissions, concealment, and suppression
 23   undermined the core value proposition that induced customers to purchase or acquire
 24   the Class Tires.
 25         52.   Defendants’ intentionally deceptive conduct—its silent fraud and fraud by
 26   concealment—likewise induced the purchase or acquisition of the Class Tires by
 27   Plaintiffs and Class Members, and the resulting harm and damage to them.
 28   ///



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 1         53.     Plaintiffs relied upon Defendants’ misrepresentations and concealment of
 2    the true facts. Class Members are presumed to have relied upon Defendants’
 3    misrepresentations and concealment of the true facts because those facts are material
 4    to a reasonable consumer’s purchase or acquisition of the Class Tires.
 5         54.     As a result of Defendants’ inducements, Plaintiffs and Class Members
 6    have sustained the injuries and damages set forth in this Complaint. If Plaintiffs and
 7    Class Members had known about the misrepresentations and concealment by
 8    Defendants, they would not have purchased the Class Tires. In fact, the Class Tires
 9    could not have been marketed or sold to any reasonable consumer had existence of
 10   the product defects been disclosed. Defendants are therefore liable to Plaintiffs and
 11   Class Members in an amount to be proven at trial.
 12        55.     Defendants’ conduct was systematic, repetitious, knowing, intentional and
 13   malicious, and demonstrated a lack of care and reckless disregard for the rights and
 14   safety of Plaintiffs, Class Members and the public. Defendants’ conduct thus
 15   warrants an assessment of punitive damages under Cal. Civ. Code § 3294 and other
 16   applicable states’ laws, consistent with the actual harm it has caused, the
 17   reprehensibility of its conduct, and the need to punish and deter such conduct.
 18                               SECOND CLAIM FOR RELIEF
 19                             Quasi-Contract Unjust Enrichment
 20                         (Brought on Behalf of the Nationwide Class)
 21            56. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 22   Class.
 23            57. Plaintiffs hereby incorporate by reference the allegations contained in the
 24   preceding paragraphs of this amended Complaint.
 25            58. Defendants have been unjustly enriched in that they intentionally sold the
 26   Class Tires knowing that they could not deliver the safety, durability and
 27   performance promised to consumers. Defendants enticed Plaintiffs and Class
 28   Members to purchase or acquire the Class Tires through false and deceptive



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 1    advertising, promotional, marketing and warranty materials, and were unjustly
 2    enriched as a result.
 3             59. Plaintiffs and Class Members conferred a benefit on Defendants by
 4    purchasing or acquiring the Class Tires.
 5             60. When purchasing or acquiring the Class Tires, Plaintiffs and Class
 6    Members reasonably believed that the Class Tires were safe, durable and would
 7    perform as advertised, warranted and represented by Defendants.
 8             61. Plaintiffs and Class Members suffered a complete loss of value of the
 9    Class Tires, and certainly at the very least, less than what they paid for in that the
 10   Class Tires were not as advertised, warranted and represented by Defendants.
 11            62. Defendants know of and appreciate the benefit conferred by Plaintiffs and
 12   Class Members, and have retained that benefit notwithstanding their knowledge that
 13   the benefit is unjust.
 14            63. The above did not occur by accident or conditions not within Defendants’
 15   control. If fact, the Class Tires were dangerous and unsafe, and did not perform
 16   safely under ordinary driving conditions.
 17            64. Defendants should therefore be required to disgorge the unjust
 18   enrichment.
 19                               THIRD CLAIM FOR RELIEF
 20            Violation of Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq.
 21                                 Breach of Express Warranty
 22                        (Brought on Behalf of the Nationwide Class)
 23            65. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 24   Class.
 25            66. Plaintiffs hereby incorporate by reference the allegations contained in the
 26   preceding paragraphs of this amended Complaint.
 27            67. The Class Tires are “consumer products” within the meaning of the
 28   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).



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 1           68. Plaintiffs and Class Members are “consumers” within the meaning of the
 2    Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3), because they are persons
 3    entitled under applicable state law to enforce against the warrantor the obligations of
 4    its express and implied warranties.
 5           69. Each Defendant is a “supplier” and “warrantor” within the meaning of the
 6    Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
 7           70. Section 2310(d)(1) of Chapter 15 of the United States Code provides a
 8    cause of action for any consumer who is damaged by the failure of a warrantor to
 9    comply with a written or implied warranty.
 10          71. In connection with the purchase of the Class Tires, Defendants provided
 11   an express Limited Warranty Against Defects in Workmanship and Materials for the
 12   life of the original tread, or five years from date of purchase (whichever comes first).
 13          72. Plaintiffs and members of the Nationwide Class experienced defects
 14   within the warranty period. Despite the existence of the warranties, the Defendants
 15   failed to inform Plaintiffs and Class members that the Class Tires were defective and
 16   unsafe, and prone to failure and tread separation.
 17          73. Furthermore, by advertising that the Class Tires were safe, durable and
 18   would perform under ordinary driving conditions, Defendants expressly warranted to
 19   Plaintiffs and Class Members that the Class Tires at least complied with all applicable
 20   laws and regulations relating to tires and tire safety.
 21          74. Moreover, through its advertising and representations, Defendants
 22   warranted to purchasers of the Class Tires that the tires would be safe, durable and
 23   would perform under ordinary driving conditions. Such statements became the basis
 24   of the bargain for Plaintiffs and Class Members because such statements are among
 25   the facts a reasonable consumer would consider material in the purchase of a .
 26          75. In fact, in ordinary driving conditions, the Class Tires were not safe and
 27   durable, and did not perform under ordinary driving conditions.
 28   ///



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 1             76. Plaintiffs, on behalf of themselves and Class Members, provided
 2    Defendants with notice of their warranty claims by the filing of this Complaint.
 3    Defendants failed to fulfill their warranty obligations despite this notice.
 4             77. Plaintiffs and Class Members have suffered damages as set forth herein as

 5    a direct and proximate result of Defendants’ breach of express warranties since
 6    Plaintiffs and Class Members purchased or acquired the Class Tires.
 7             78. Plaintiffs and the Class Members are entitled to actual damages,
 8    restitution, disgorgement, and such other relief as the Court deems proper.
 9                               FOURTH CLAIM FOR RELIEF
 10         Violation of Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.
 11                                 Breach of Implied Warranty
 12                        (Brought on Behalf of the Nationwide Class)
 13            79. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 14   Class.
 15            80. Plaintiffs hereby incorporate by reference the allegations contained in the
 16   preceding paragraphs of this amended Complaint.
 17            81. The Class Tires are “consumer products” within the meaning of the
 18   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
 19            82. Plaintiffs and Class Members are “consumers” within the meaning of the
 20   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3), because they are persons
 21   entitled under applicable state law to enforce against the warrantor the obligations of
 22   its express and implied warranties.
 23            83. Each Defendant is a “supplier” and “warrantor” within the meaning of the
 24   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
 25            84. Section 2310(d)(1) of Chapter 15 of the United States Code provides a
 26   cause of action for any consumer who is damaged by the failure of a warrantor to
 27   comply with a written or implied warranty.
 28   ///



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 1           85. Defendants provided Plaintiffs and Class Members with an implied
 2    warranty of merchantability in connection with the purchase of the Class Tires that is
 3    an “implied warranty” within the meaning of the Magnuson-Moss Warranty Act, 15
 4    U.S.C. § 2301(7). As a part of the implied warranty of merchantability, Defendants
 5    warranted that the Class Tires would pass without objection in the trade as designed,
 6    manufactured, and marketed, and were adequately labeled.
 7           86. Defendants breached these implied warranties, as described in more detail
 8    above, and are therefore liable to Plaintiffs and the Class, pursuant to 15 U.S.C. §
 9    2310(d)(1).
 10          87. Any efforts to limit the implied warranties in a manner that would exclude
 11   coverage of the Class Tires is unconscionable, and any such effort to disclaim, or
 12   otherwise limit, liability for the Class Tires is null and void.
 13          88. Plaintiffs and the Class Members have had sufficient direct dealings with
 14   the Defendants, or their agents to establish privity of contract.
 15          89. Nonetheless, privity is not required here because Plaintiffs and Class
 16   Members are intended third-party beneficiaries of contracts between Defendants and
 17   distributors, and specifically, of the implied warranties. The distributors were not
 18   intended to be the ultimate consumers of the Class Tires and have no rights under the
 19   warranty agreements provided with the Class Tires; the warranty agreements were
 20   designed for and intended to benefit consumers.
 21          90. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class
 22   action and are not required to give Defendants notice and an opportunity to cure until
 23   such time as the Court determines the representative capacity of Plaintiffs pursuant to
 24   Rule 23 of the Federal Rules of Civil Procedure.
 25          91. Plaintiffs’ individual claims place into controversy an amount equal to or
 26   exceeding $25.00. The amount in controversy of this entire action exceeds the sum
 27   of $50,000.00, exclusive of interest and costs, computed on the basis of all claims to
 28   be determined in this action. Plaintiffs, individually and on behalf of the Class



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 1    Members, seek all damages permitted by law. In addition, pursuant to 15 U.S.C. §
 2    2310(d)(2), Plaintiffs and Class Members are entitled to recover a sum equal to the
 3    aggregate amount of costs and expenses (including attorney fees based on actual time
 4    expended) determined by the Court to have reasonably been incurred by Plaintiffs
 5    and Class Members in connection with the commencement and prosecution of this
 6    action.
 7              92. Plaintiffs and Class Members have suffered damages as set forth herein as
 8    a direct and proximate result of Defendants’ breach of implied warranty since
 9    Plaintiff and Class Members purchased the Class Tires.
 10             93. Plaintiffs and the Class Members are entitled to actual damages,
 11   restitution, disgorgement, and such other relief as the Court deems proper.
 12             94. Further, Plaintiffs and the Class Members are also entitled to equitable
 13   relief under 15 U.S.C. §2310(d)(1).
 14                                 FIFTH CLAIM FOR RELIEF
 15                              Negligent Failure to Recall/Retrofit
 16                         (Brought on Behalf of the Nationwide Class)
 17             95. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 18   Class.
 19             96. Plaintiffs incorporate by reference the allegations contained in the
 20   preceding paragraphs of this amended Complaint.
 21             97. Defendants manufactured, marketed, distributed, sold or otherwise placed
 22   into the stream of commerce the Class Tires, as set forth herein.
 23             98. Defendants knew, or reasonable should have known, that the Class Tires
 24   were dangerous when used in a reasonably foreseeable manner, and posed an
 25   unreasonable risk of harm to consumers.
 26             99. Defendants became aware that the Class Tires were dangerous when used
 27   in a reasonably foreseeable manner, and posed an unreasonable risk after the Class
 28   Tires were sold.



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 1           100. Defendants failed to recall or retrofit the Class Tires in a timely manner,
 2    or at all, or warn the public or consumers of the dangers posed by the Class Tires.
 3           101. A reasonable manufacturer in the same or similar circumstances would
 4    have timely recalled or retrofitted the Class Tires, or warned of the dangers.
 5           102. Plaintiffs and Class members were harmed by Defendants’ failure to
 6    recall, retrofit or warn of the dangers of the Class Tires properly and in a timely
 7    manner, and, as a result, have suffered damages, including out-of-pocket costs and
 8    economic losses, as a result of Defendants’ ongoing failure to recall, retrofit, warn
 9    and/or fully repair the Class Tires.
 10          103. As a direct and proximate result of Defendants’ conduct as described
 11   above, Plaintiffs and Class members have suffered damages as set forth herein.
 12                              SIXTH CLAIM FOR RELIEF
 13          Violation of California’s Consumer Legal Remedies Act (“CLRA”)
 14                               (Cal. Civ. Code § 1750, et seq.)
 15                        (Brought on Behalf of the California Class)
 16          104. Plaintiffs Julie Hamilton and Jerad Hamilton bring this claim on behalf of
 17   themselves and the California Class.
 18          105. Plaintiffs hereby incorporate by reference the allegations contained in the
 19   preceding paragraphs of this amended Complaint.
 20          106. Each Defendant is a “person” as defined by the CLRA. Cal. Civ. Code §
 21   1761(c).
 22          107. Plaintiffs and Class Members are “consumers” within the meaning of the

 23   CLRA, as defined by Cal. Civ. Code § 1761(d), who purchased Class Tires.
 24          108. The CLRA prohibits “unfair or deceptive acts or practices undertaken by
 25   any person in a transaction intended to result or which results in the sale or lease of
 26   goods or services to any consumer[.]” Cal. Civ. Code § 1770(a).
 27          109. Defendants engaged in unfair or deceptive trade practices that violated
 28   Cal. Civ. Code § 1770(a), as described above and below, by, among other things,



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 1    failing to disclose the defective and dangerous nature of the Class Tires, representing
 2    that the Class Tires had characteristics and benefits (e.g., safety, durability,
 3    performance) that they do not have, and representing that the Class Tires were of a
 4    particular standard, quality, or grade when they were of another. See Cal. Civ. Code
 5    §§ 1770(a)(5), (7).
 6             110. Defendants knew or should have known that its conduct violated the
 7    CLRA.
 8             111. Defendants’ unfair and deceptive acts or practices occurred repeatedly in
 9    Defendants’ course of trade or business, were material, were capable of deceiving a
 10   substantial portion of the purchasing public, and imposed a safety risk on the public.
 11            112. Defendants knew that the Class Tires would not perform as promised and
 12   were not suitable for their intended use, and were defectively designed and/or
 13   manufactured.
 14            113. Defendants were under a duty to Plaintiffs and Class Members to disclose
 15   the deceptive and defective nature of the Class Tires because:
 16            a.    The defect in the Class Tires presents a safety hazard in that it causes a
 17   tire failure, including tread separation in the Class Tires;
 18            b.    Defendants are in a superior position to know the true facts about the
 19   safety defect in the Class Tires;
 20            c.    Plaintiffs and Class Members could not reasonably have been expected
 21   to learn or discover that the Class Tires contained the safety defect; and
 22            d.    Defendants knew that Plaintiffs and Class Members could not
 23   reasonably have been expected to learn or discover the safety defect before its
 24   manifestation.
 25            114. In failing to disclose the defective nature of the Class Tires, Defendants
 26   knowingly and intentionally concealed material facts and breached their duty not to
 27   do so.
 28   ///



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 1           115. The facts that were misrepresented, concealed or not disclosed by
 2    Defendants to Plaintiffs and Class Members are material in that a reasonable
 3    consumer would have considered them to be important in deciding whether or not to
 4    purchase the Class Tires. Moreover, a reasonable consumer would consider the tire
 5    failure and/or tread separation to pose a serious safety risk. Had Plaintiffs and Class
 6    Members known about the true nature and quality of the Class Tires, they would not
 7    have purchased or acquired them since they have a complete loss of value.
 8           116. Plaintiffs and Class Members are reasonable consumers who do not expect
 9    their Class Tires to pose serious safety risks when driving. This is a reasonable and
 10   objective consumer expectation relating to a trailer tire.
 11          117. As a proximate result of Defendants’ violations of the CLRA, Plaintiffs
 12   seek an order of this Court permanently enjoining Defendants from perpetrating their
 13   deceptive and unlawful marketing practices.
 14                            SEVENTH CLAIM FOR RELIEF
 15                    Violation of California’s Unfair Competition Law,
 16                         (Cal. Bus & Prof. Code §§17200, et seq.)
 17                        (Brought on Behalf of the California Class)
 18          118. Plaintiffs Julie Hamilton and Jerad Hamilton bring this claim on behalf of
 19   themselves and the California Class.
 20          119. Plaintiffs hereby incorporate by reference the allegations contained in the
 21   preceding paragraphs of this amended Complaint.
 22          120. California Business and Professions Code § 17200 prohibits acts of

 23   “unfair competition,” including any “unlawful, unfair or fraudulent business act or
 24   practice.” Defendants engaged in conduct that violated each of the statute’s three
 25   prongs.
 26          121. Defendants committed an unlawful business act or practice in violation of
 27   Cal. Bus. & Prof. Code § 17200, et seq. by their violation of the following:
 28




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 1           a)     Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq., as set
 2    forth herein, by the acts, practices, omissions and misrepresentations set forth in this
 3    Complaint;
 4           b)     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et
 5    seq., by the acts, practices, omissions and misrepresentations set forth in this
 6    Complaint; and
 7           c)     Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq., by the acts,
 8    practices, omissions and misrepresentations set forth in this Complaint;
 9           122. Defendants committed unfair business acts and practices in violation of
 10   Cal. Bus. & Prof. Code §§ 17200, et seq., when they concealed the existence and
 11   nature of the tire failure and tread separation defect, and represented that the Class
 12   Tires were safe, durable and would perform under ordinary conditions, when, in fact,
 13   the Class Tires do not have these characteristics. The tire failure/tread separation
 14   defect presents a safety hazard since a tire failure on the roadway is a dangerous and
 15   potentially life-threatening event.
 16          123. Defendants committed fraudulent business acts and practices in violation
 17   of Cal. Bus. & Prof. Code §§ 17200, et seq. when they concealed the existence of the
 18   defects and dangers of the Class Tires as set forth herein, while representing in their
 19   marketing, advertising, and other broadly disseminated representations that the Class
 20   Tires were safe, durable, and would perform in ordinary driving conditions.
 21   Defendants’ representations and active concealment of the tire failure and tread
 22   separation defect are likely to mislead the public with regard to the true defective
 23   nature of the Class Tires.
 24          124. Defendants’ unfair or deceptive acts or practices occurred repeatedly in
 25   the course of their trade or business, and were capable of deceiving a substantial
 26   portion of the purchasing public.
 27   ///
 28   ///



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 1           125. As a direct and proximate result of Defendants’ unfair and deceptive
 2    practices, Plaintiffs and Class Members have suffered and will continue to suffer
 3    actual damages.
 4           126. As a result of its unfair and deceptive conduct, Defendants have been

 5    unjustly enriched and should be required to disgorge their unjust profits and make
 6    restitution to Plaintiffs and Class Members, and pay for the attorney fees of Plaintiffs
 7    and Class Members.
 8                              EIGHTH CLAIM FOR RELIEF
 9                      Violation of California False Advertising Law,
 10                        (Cal. Bus. & Prof. Code §§ 17500, et seq.)
 11                       (Brought on Behalf of the California Class)
 12          127. Plaintiffs Julie Hamilton and Jerad Hamilton bring this claim on behalf of
 13   themselves and the California Class.
 14          128. Plaintiffs hereby incorporate by reference the allegations contained in the
 15   preceding paragraphs of this amended Complaint.
 16          129. Cal. Bus. & Prof. Code § 17500 states: “It is unlawful for any …
 17   corporation … with intent directly or indirectly to dispose of real or personal property
 18   … to induce the public to enter into any obligation relating thereto, to make or
 19   disseminate or cause to be made or disseminated … from this state before the public
 20   in any state, in any newspaper or other publication, or any advertising device, … or in
 21   any other manner or means whatever, including over the internet, any statement …
 22   which is untrue or misleading, and which is known, or which by the exercise of
 23   reasonable care should be known, to be untrue or misleading.”
 24          130. Defendants caused to be made or disseminated through California and the
 25   United States, through advertising, marketing and other publications, statements that
 26   were untrue or misleading, touting the benefits of the Class Tires while concealing
 27   the presence of the tire failure and tread separation defect. These representations and
 28   active concealment of the defects and dangers were calculated to deceive the public,



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 1    and were known, or by the exercise of reasonable care, should have been known to
 2    Defendants, to be untrue and misleading to consumers, including Plaintiffs and Class
 3    members.
 4           131. Defendants have violated Cal. Bus. & Prof. Code § 17500 because the

 5    misrepresentations and omissions regarding the safety, durability and performance of
 6    the Class Tires as set forth in this Complaint were material and likely to deceive a
 7    reasonable consumer.
 8           132. Plaintiffs and Class members have suffered an injury in fact, including the
 9    loss of money or property, as a result of Defendants’ unfair, unlawful, and/or
 10   deceptive practices. In purchasing the Class Tires, Plaintiffs and Class Members
 11   relied on the misrepresentations and/or omissions of Defendants with respect to the
 12   safety, performance and reliability of the Class Tires.
 13          133. Defendants’ representations were false because the Class Tires were faulty
 14   and defective. Had Plaintiffs and Class members known this, they would not have
 15   purchased or acquired the Class Tires or paid substantially less for them. Thus,
 16   Plaintiffs and Class members did not receive the benefit of the bargain.
 17          134. Plaintiffs and Class members request that the Court enter such orders and
 18   judgments as may be necessary to enjoin Defendants from continuing their unfair,
 19   unlawful and/or deceptive practices and to restore to Plaintiffs and Class Members
 20   any money Defendants acquired by unfair competition, including restitution and/or
 21   restitutionary disgorgement, and for such other relief as set forth below.
 22                              NINTH CLAIM FOR RELIEF
 23                               Breach of Express Warranty
 24                           (Cal. Com. Code §§ 2313 and 10210)
 25                       (Brought on Behalf of the California Class)
 26          135. Plaintiffs Julie Hamilton and Jerad Hamilton bring this claim on behalf of
 27   themselves and the California Class.
 28   ///



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 1           136. Plaintiffs hereby incorporate by reference the allegations contained in the
 2    preceding paragraphs of this amended Complaint.
 3           137. Defendants were at all relevant times “merchants” with respect to the
 4    Class Tires under Cal. Com. Code §§ 2104(1) and 10103(c), and “sellers” under §
 5    2103(1)(d).
 6           138. The Class Tires were at all relevant times “goods” within the meaning of
 7    Cal. Com. Code §§ 2105(1) and 10103(a)(8).
 8           139. In connection with the purchase of the Class Tires, Defendants provided
 9    an express Limited Warranty Against Defects in Workmanship and Materials for the
 10   life of the original tread, or five years from date of purchase (whichever comes first).
 11          140. Further, by advertising that the Class Tires were safe, durable and would
 12   perform under ordinary driving conditions, Defendants expressly warranted to
 13   Plaintiffs and Class Members that the Class Tires at least complied with all applicable
 14   laws and regulations relating to tires and tire safety.
 15          141. Moreover, through its advertising, marketing and promotional
 16   representations, Defendants warranted to purchasers of the Class Tires that the tires
 17   would be safe, durable and would perform under ordinary driving conditions. Such
 18   statements became the basis of the bargain for Plaintiffs and Class Members because
 19   such statements are among the facts a reasonable consumer would consider material
 20   in the purchase of trailer tires.
 21          142. Defendants breached these express warranties because the Class Tires did
 22   not have the safety, durability and performance characteristics warranted by
 23   Defendants.
 24          143. As a direct and proximate result of the breach of the express warranties by
 25   Defendants, Plaintiffs and Class Members have been damaged in an amount to be
 26   determined at trial.
 27   ///
 28   ///



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 1                              TENTH CLAIM FOR RELIEF
 2                     Breach of Implied Warranty of Merchantability
 3                            (Cal. Com. Code §§ 2314 and 10212)
 4                        (Brought on Behalf of the California Class)
 5           144. Plaintiffs Julie Hamilton and Jerad Hamilton bring this claim on behalf of
 6    themselves and the California Class.
 7           145. Plaintiffs hereby incorporate by reference the allegations contained in the
 8    preceding paragraphs of this amended Complaint.
 9           146. Defendants were at all relevant times “merchants” with respect to the
 10   Class Tires under Cal. Com. Code §§ 2104(1) and 10103(c), and “sellers” of the
 11   Class Tires under §2103(1)(d).
 12          147. The Class Tires were at all relevant times “goods” within the meaning of
 13   Cal. Com. Code §§ 2105(1) and 10103(a)(8).
 14          148. A warranty that the Class Tires were in merchantable condition and fit
 15   for the ordinary purpose for which tires are used is implied by law pursuant to Cal.
 16   Com. Code §§ 2314 and 10212.
 17          149. The Class Tires, when sold and marketed, and at all times thereafter, were
 18   not in merchantable condition and are not fit for the ordinary purpose for which tires
 19   are used. Specifically, the Class Tires are defective and dangerous in that they are
 20   not safe and durable, do not perform under ordinary driving conditions, and are likely
 21   to fail while being operated.
 22          150. Defendants breached the implied warranty of merchantability when they

 23   sold and marketed Plaintiffs and Class Members the Class Tires, which did not
 24   conform to the promises or affirmations of fact contained in the advertising,
 25   promotional, marketing and warranty written materials relating to the Class Tires, and
 26   provided to Plaintiffs and Class Members.
 27          151. As a direct and proximate result of the breach of the implied warranty by
 28   Defendants, Plaintiffs and Class Members have been damaged in an amount to be



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 1    determined at trial.
 2                             ELEVENTH CLAIM FOR RELIEF
 3                        Violation of Arizona Consumer Fraud Statute,
 4                            (Ariz. Revised Stat. §§ 44-1521, et seq.)
 5                           (Brought on Behalf of the Arizona Class)
 6           152. Plaintiff Kyle McLean hereby incorporates by reference the allegations
 7    contained in the preceding paragraphs of this amended Complaint.
 8           153. Plaintiff Kyle McLean brings this cause of action on behalf of himself
 9    and the Arizona Class.
 10          154. Defendants, Plaintiff Kyle McLean, and the Arizona Subclass are
 11   “persons” within the meaning of the Arizona Consumer Fraud Act (“ACFA”), Ariz.
 12   Rev. Stat. § 44-1521(6).
 13          155. The Class Tires are “merchandise” within the meaning of Ariz. Rev. Stat.
 14   § 44-1521(5).
 15          156. The ACFA provides that “[t]he act, use or employment by any person of
 16   any deception, deceptive act or practice, fraud, … misrepresentation, or concealment,
 17   suppression or omission of any material fact with intent that others rely upon such
 18   concealment, suppression or omission, in connection with the sale … of any
 19   merchandise whether or not any person has in fact been misled, deceived or damaged
 20   thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat. §44-1522(A).
 21          157. Defendants concealed and suppressed material facts relating to the Class
 22   Tires by engaging in the acts and practices alleged above. These practices constitute
 23   fraud, false promise, misrepresentation, concealment and suppression.
 24          158. Plaintiff and members of the Arizona Subclass had no way of discerning
 25   that Defendants’ representations were false and misleading, and relied on
 26   Defendants’ deceptive representations in purchasing the Class Tires, believing that
 27   the Class Tires were safe, durable and performed under ordinary operating
 28   conditions.



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 1            159. As a direct and proximate result of Defendants’ deceptive acts and
 2    practices, Plaintiff Kyle McLean and Class Members have been damaged in an
 3    amount to be determined at trial.
 4            160. Plaintiff Kyle McLean and Class Members also seek punitive damages

 5    because Defendants engaged in aggravated and outrageous conduct with an evil
 6    mind.
 7                             TWELFTH CLAIM FOR RELIEF
 8                           BREACH OF EXPRESS WARRANTY
 9                         (Ariz. Rev. Stat. §§ 47-2313 and 47-2A210)
 10                         (Brought on Behalf of the Arizona Class)
 11           161. Plaintiff Kyle McLean hereby incorporates by reference the allegations
 12   contained in the preceding paragraphs of this amended Complaint.
 13           162. Plaintiff Kyle McLean brings this cause of action on behalf of himself and
 14   the Arizona Class.
 15           163. The Defendants were at all relevant times “merchants” with respect to
 16   trailer tires under Ariz. Rev. Stat. §§ 47-2104(A) and 47-2A103(c); and are a “seller”
 17   of trailer tires under Ariz. Rev. Stat. § 47-2103(A)(4).
 18           164. The Class Tires were at all relevant times “goods” within the meaning of
 19   Ariz. Rev. Stat. §§ 47-2105(A) and 47-2a103(A)(8).
 20           165. In connection with the purchase of the Class Tires, Defendants provided
 21   an express Limited Warranty Against Defects in Workmanship and Materials for the
 22   life of the original tread, or five years from date of purchase (whichever comes first).
 23           166. Further, by advertising that the Class Tires were safe, durable and would
 24   perform under ordinary driving conditions, Defendants expressly warranted to
 25   Plaintiff and Class Members that the Class Tires at least complied with all applicable
 26   laws and regulations relating to tires and tire safety.
 27           167. Moreover, through its advertising, marketing and promotional
 28   representations, Defendants warranted to purchasers of the Class Tires that the tires



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 1    would be safe, durable and would perform under ordinary driving conditions. Such
 2    statements became the basis of the bargain for Plaintiff and Class Members because
 3    such statements are among the facts a reasonable consumer would consider material
 4    in the purchase of trailer tires.
 5           168. Defendants breached these express warranties because the Class Tires did
 6    not have the safety, durability and performance characteristics warranted by
 7    Defendants.
 8           169. As a direct and proximate result of the breach of the express warranties by
 9    Defendants, Plaintiff and Class Members have been damaged in an amount to be
 10   determined at trial.
 11                           THIRTEENTH CLAIM FOR RELIEF
 12                      Breach of Implied Warranty of Merchantability
 13                          (Ariz. Rev. Stat. §§ 47-2314 and 47-2A212)
 14                          (Brought on Behalf of the Arizona Class)
 15          170.    Plaintiff Kyle McLean hereby incorporates by reference the allegations
 16   contained in the preceding paragraphs of this amended Complaint.
 17          171. Plaintiff Kyle McLean brings this cause of action on behalf of himself
 18   and the Arizona Class.
 19          172. Defendants were at all relevant times “merchants” with respect to trailer
 20   tires under Ariz. Rev. Stat. §§ 47-2104(A) and 47-2a103(c); and a “seller” of trailer
 21   tires under Ariz. Rev. Stat. § 47-2103(A)(4).
 22          173. The Class Tires were at all relevant times “goods” within the meaning of

 23   Ariz. Rev. Stat. §§ 47-2105(A) and 47-2a103(A)(8).
 24          174. A warranty that the Class Tires were in merchantable condition and fit
 25   for the ordinary purpose for which tires are used is implied pursuant to Ariz. Rev.
 26   Stat. §§ 47-2314 and 47-2a212.
 27          175. The Class Tires, when sold and marketed, and at all times thereafter,
 28   were not in merchantable condition and are not fit for the ordinary purpose for which



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 1    tires are used. Specifically, the Class Tires are defective and dangerous in that they
 2    are not safe and durable, do not perform under ordinary driving conditions and are
 3    likely to experience a tire failure or tread separation while being driven.
 4           176. Defendants were provided notice of these issues by numerous individual

 5    letters and communications sent by Plaintiff and Class members regarding the failure
 6    of the Class Tires.
 7           177. As a direct and proximate result of the breach of the implied warranty by
 8    Defendants, Plaintiff McLean and Arizona class members have been damaged in an
 9    amount to be determined at trial.
 10                          FOURTEENTH CLAIM FOR RELIEF
 11                    Violations of the Colorado Consumer Protection Act
 12                           (Col. Rev. Stat. section 6-1-101, et seq.)
 13                         (Brought on Behalf of the Colorado Class)
 14          178. Plaintiff Sam Flowers hereby incorporates by reference the allegations
 15   contained in the preceding paragraphs of this amended Complaint.
 16          179. Plaintiff Sam Flowers brings this cause of action on behalf of himself
 17   and the Colorado Class.
 18          180.    Defendants are “person[s]” under section 6-1-102(6) of the Colorado
 19   Consumer Protection Act (“Colorado CPA”), Col. Rev. Stat. section 6-1-101, et seq.
 20          181.    Plaintiff and Colorado Class members are “consumers” for purposes of
 21   Col. Rev. Stat section 6-1-113(1)(a) who purchased or acquired the Class Tires.
 22          182.    The Colorado CPA prohibits deceptive trade practices in the course of a
 23   person’s business. Defendants engaged in deceptive trade practices prohibited by the
 24   Colorado CPA, including: 1) knowingly making a false representation as to the
 25   characteristics, uses and benefits of the Class Tires that had the capacity or tendency
 26   to deceive Colorado Class members, 2) representing that the Class Tires are of a
 27   particular standard, quality, and grade even though Defendants knew or should have
 28   known they are not, 3) advertising the Class Tires with the intent not to sell them as



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 1    advertised, and 4) failing to disclose material information concerning the Class Tires
 2    that was known to Defendants at the time of advertisement or sale with the intent to
 3    induce Colorado Class members to purchase or acquire the Class Tires.
 4           183.    In the course of their business, Defendants concealed and suppressed
 5    material facts concerning the Class Tires. Plaintiff and the Colorado Class members
 6    had no way of knowing that Defendants’ representations were false and misleading
 7    since Defendants’ concealed the risks and dangers of the Class Tires. Plaintiff and
 8    the Colorado Class members could not ascertain Defendants’ deception on their own.
 9           184.    Defendants therefore violated the CPA by, among other things,
 10   employing deception, deceptive acts or practices, fraud, misrepresentations, or
 11   concealment, suppression or omission of any material fact with intent that others rely
 12   upon such concealment, suppression or omission, in connection with the sale or
 13   acquisition of Class Tires.
 14          185.    Defendants engaged in misleading, false, unfair or deceptive acts or
 15   practices that violated the Colorado CPA by failing to disclose and actively
 16   concealing the risks and dangers of the Class Tires, by marketing the Class Tires as
 17   reliable, safe and durable, and by presenting themselves as reputable manufacturers
 18   and distributors that valued safety and durability, and stood behind the Class Tires
 19   after they were sold or acquired.
 20          186.    Defendants’ actions as set forth above occurred in the conduct of trade
 21   or commerce.
 22          187.    Defendants intentionally and knowingly misrepresented material facts
 23   regarding the Class Tires with the intent to mislead Plaintiff and the Colorado Class
 24   members.
 25          188.    Defendants knew or should have known that their conduct violated the
 26   Colorado CPA.
 27          189.    Defendants owed Plaintiff and Class members a duty to disclose safety
 28   risks because Defendants 1) possessed exclusive knowledge that they were



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 1    manufacturing, selling and distributing Class Tires throughout the United States that
 2    were not safe and durable, would not perform under ordinary driving conditions, and
 3    contained tire failure and tread separation defects, 2) intentionally concealed the
 4    above from Plaintiff and Class members, and/or 3) made incomplete representations
 5    about the safety, durability and performance of the Class Tires generally, while
 6    purposefully withholding material facts from Plaintiff and Class members that
 7    contradicted the representations.
 8           190.    Defendants’ conduct and concealment of the true characteristics of the
 9    Class Tires were material to Plaintiff and the Colorado Class members.
 10          191.    Defendants’ unfair or deceptive acts or practices were likely to and did
 11   in fact deceive reasonable consumers, including Plaintiff and Class members, about
 12   the safety, durability and performance of the Class Tires, as well as the absence of
 13   any value to the Class Tires.
 14          192.    Plaintiff and the Colorado Class members suffered ascertainable loss
 15   and actual damages as a direct and proximate result of Defendants’
 16   misrepresentations and concealment of and failure to disclose material information.
 17   Plaintiffs and the Colorado Class members who purchased or acquired the Class Tires
 18   would not have purchased or acquired them at all if the true nature of the Class Tires
 19   had been disclosed.
 20          193.    Defendants had an ongoing duty to consumers of the Class Tires to
 21   refrain from unfair and deceptive practices under the Colorado CPA. Plaintiff and the
 22   Colorado Class members suffered ascertainable losses and damages as a result of
 23   Defendants’ deceptive and unfair acts and practices made in the course of business.
 24          194.    Plaintiff and the Colorado Class members risk irreparable injury as a
 25   result of Defendants’ acts and omissions in violation of the Colorado CPA, and these
 26   violations present a continuing risk to Plaintiff as well as to the general public.
 27   Defendants’ unlawful acts and practices set forth herein affect the public interest.
 28          195.    As a direct and proximate result of Defendants’ violations of the



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 1    Colorado CPA, Plaintiff and the Colorado Class members have suffered injury-in-fact
 2    and/or actual damage.
 3           196.    Pursuant to Colo. Rev. Stat. section 6-1-113, Plaintiff, individually and
 4    on behalf of the Colorado Class, seeks monetary relief against Defendants measured
 5    as the greater of (a) actual damages in an amount to be determined at trial and
 6    discretionary trebling of such damages, or (b) statutory damages in the amount of
 7    $500 for each Plaintiff and each Colorado Class member.
 8           197.    Plaintiff also seeks an order enjoining Defendants’ unfair, unlawful,
 9    and/or deceptive practices, declaratory relief, attorney fees, and any other just and
 10   proper relief available under the Colorado CPA.
 11                            FIFTEENTH CLAIM FOR RELIEF
 12                     Breach of the Implied Warrant of Merchantability
 13                       (Col. Rev. Stat. sections 4-2-313 and 4-2.5-212)
 14                         (Brought on Behalf of the Colorado Class)
 15          198.    Plaintiff Sam Flowers hereby incorporates by reference the allegations
 16   contained in the preceding paragraphs of this amended Complaint.
 17          199.    Plaintiff Sam Flowers brings this cause of action on behalf of himself
 18   and the Colorado Class.
 19          200.    The Defendants are and were at all relevant times “merchants” with
 20   respect to trailer tires under Colo. Rev. Stat. sections 4-2-104(1) and 4-2.5-103(3),
 21   and “sellers” of trailer tires under section 4-2-103(1)(d).
 22          201.    The Class Tires are and were at all relevant times “goods” within the
 23   meaning of Colo. Rev. Stat. sections 4-2-105(1) and 4-2.5-103(1)(h).
 24          202.    A warranty that the Class Tires were in merchantable condition and fit
 25   for the ordinary purpose for which s are used is implied by law pursuant to Colo. Rev.
 26   Stat. sections 4-2-313 and 4-2.5-212.
 27          203.    The Class Tires, when sold or acquired and at all times thereafter, were
 28   not in merchantable condition and are not fit for the ordinary purpose for which



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 1    trailer tires are used. Specifically, the Class Tires are defective and dangerous in
 2    that they are not safe and durable, do not perform under ordinary driving conditions,
 3    and are likely to fail while being operated.
 4           204.    Defendants breached the implied warranty of merchantability when they
 5    sold and marketed to Plaintiff and Class members the Class Tires, which did not
 6    conform to the promises or affirmations of fact contained in the advertising,
 7    promotional, marketing and warranty written materials relating to the Class Tires, and
 8    provided to Plaintiffs and Class Members.
 9           205.    Defendants were provided notice of these issues by numerous complaint
 10   letters and communications sent by Class members within a reasonable amount of
 11   time after the defects became known.
 12          206.    As a direct and proximate result of the breach of the implied warranty of
 13   merchantability by Defendants, Plaintiff and the Colorado Class members have been
 14   damaged in an amount to be proven at trial.
 15                            SIXTEENTH CLAIM FOR RELIEF
 16                                Breach of Express Warranty
 17                       (Colo. Rev. Stat. sections 4-2-313 and 4-2.5-210)
 18                         (Brought on Behalf of the Colorado Class)
 19          207. Plaintiff Sam Flowers hereby incorporates by reference the allegations
 20   contained in the preceding paragraphs of this amended Complaint.
 21          208.    Plaintiff Sam Flowers brings this cause of action on behalf of himself
 22   and the Colorado Class.
 23          209.    Defendants are and were at all times “merchants” with respect to trailer
 24   tires under Colo. Rev. Stat. sections 4-2-104(1) and 4-2.5-103(3), and “sellers” of
 25   trailer tires under section 4-2-103(1)(d).
 26          210.    The Class Tires are and were at all relevant times “goods” within the
 27   meaning of Colo. Rev. Stat. sections 4-2-105(1) and 4-2.5-103(1)(h).
 28          211. In connection with the purchase or acquisition of the Class Tires,




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 1    Defendants provided an express Limited Warranty Against Defects in Workmanship
 2    and Materials for the life of the original tread, or five years from date of purchase
 3    (whichever comes first).
 4             212.    The Defendants’ warranty formed a basis of the bargain that was
 5    reached when Plaintiff and Colorado Class members purchased or acquired the Class
 6    Tires.
 7             213.    Plaintiff and the Colorado Class members experienced defects within the
 8    warranty period. Despite the existence of the warranty, Defendants failed to inform
 9    Plaintiff and the Colorado Class members that the Class Tires were defective and
 10   unsafe, and prone to failure and tread separation.
 11            214.    The Defendants breached the express warranty provided to Plaintiff and
 12   Colorado Class members. The Defendants have not replaced the Class Tires, and
 13   have been unable to repair or adjust the Class Tires’ materials and defects.
 14            215.    Furthermore, the Limited Warranty Against Defects in Workmanship
 15   and Materials fails in its essential purpose because the remedy is insufficient to make
 16   Plaintiff and the Colorado Class members whole because Defendants have failed
 17   and/or refused to adequately provide the promised remedies within a reasonable time.
 18            216.    Thus, recovery by Plaintiffs and the Colorado Class members is not
 19   restricted to the limited warranty promising to repair and/or correct a manufacturing
 20   defect, and Plaintiff, individually and on behalf of the Colorado Class members,
 21   seeks all remedies allowed by law.
 22            217.    Further, as alleged in more detail herein, at the time the Class Tires were
 23   sold or acquired, Defendants knew that the Class Tires were defective and dangerous,
 24   and did not conform to their warranty. Defendants wrongfully and fraudulently
 25   concealed material facts regarding the Class Tires. Plaintiff and the Colorado Class
 26   members were therefore induced to purchase or acquire the Class Tires under false
 27   and/or fraudulent pretenses.
 28            218.    Moreover, the injuries and damages flowing from the Class Tires cannot



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 1    be resolved though the limited remedy of replacements or adjustments since the Class
 2    Tires are defective and dangerous, and because of Defendants’ failure and/or
 3    continued failure to provide such limited remedy within a reasonable time, any
 4    limitation on the remedies of the Plaintiff and Colorado Class members would be
 5    insufficient to make Plaintiff and the Colorado Class members whole.
 6           219.    Further, as a result of the Defendants’ breach of warranty as set forth
 7    herein, Plaintiff and the Colorado Class members assert, as additional and/or
 8    alternative remedies, the revocation of acceptance of the goods and the return to
 9    Plaintiff and the Colorado Class members of the purchase or acquisition price of all
 10   Class Tires currently owned or acquired, and for such other incidental and
 11   consequential damages, as allowed.
 12          220.    The Defendants were provided notice of these issues by the Complaint
 13   and Amended Complaint herein, and consumer complaints and correspondence
 14   regarding the Class Tires, within a reasonable amount of time.
 15          221.    As a direct and proximate result of the breach of express warranty by
 16   Defendants, Plaintiff and the Colorado Class members have been damaged in an
 17   amount to be determined at trial.
 18                          SEVENTEENTH CLAIM FOR RELIEF
 19            Violations of Florida’s Unfair & Deceptive Trade Practices Act
 20                              (Fla. Stat. section 501.201, et seq.)
 21                          (Brought on Behalf of the Florida Class)
 22          222. Plaintiff Nestor Diaz hereby incorporates by reference the allegations

 23   contained in the preceding paragraphs of this amended Complaint.
 24          223.    Plaintiff Nestor Diaz brings this cause of action on behalf of himself and
 25   the Florida Class.
 26          224.    Plaintiff is a “consumer” within the meaning of the Florida Unfair and
 27   Deceptive Trade Practices Act (“FTPA”), Fla. Stat. section 501.203(7).
 28   ///



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 1           225.    Defendants are engaged in “trade or commerce” within the meaning of
 2    Fla. Stat. section 501.203(8).
 3           226.    FTPA prohibits “[u]nfair methods of competition, unconscionable acts
 4    or practices, and unfair or deceptive acts or practices in the conduct of any trade or
 5    commerce ….” Fla. Stat. section 501.204(1). Defendants participated in unfair and
 6    deceptive trade practices that violated FTPA as described herein.
 7           227.    Defendants committed unfair business acts and practices when they
 8    concealed the existence and nature of the tire failure and tread separation defect, and
 9    represented that the Class Tires were safe, durable and would perform under ordinary
 10   conditions, when, in fact, the Class Tires do not have these characteristics. The tire
 11   failure/tread separation defect presents a safety hazard since a tire failure on the
 12   roadway is a dangerous and potentially life-threatening event.
 13          228.    Further, Defendants committed deceptive acts and practices when they
 14   concealed the existence of the defects and dangers of the Class Tires as set forth
 15   herein, while representing in their marketing, advertising, and other broadly
 16   disseminated representations that the Class Tires were safe, durable, and would
 17   perform in ordinary driving conditions. Defendants’ representations and active
 18   concealment of the tire failure and tread separation defect are likely to mislead the
 19   public with regard to the true defective nature of the Class Tires.
 20          229.    Defendants therefore violated the FTPA by, among other things,
 21   engaging in deceptive acts or practices, fraud, misrepresentations, or concealment,
 22   suppression or omission, in connection with the sale and/or acquisition of Class Tires.
 23          230.    Defendants owed Plaintiff and Class members a duty to disclose safety
 24   risks because Defendants 1) possessed exclusive knowledge that they were
 25   manufacturing, selling and distributing Class Tires throughout the United States that
 26   were not safe and durable, would not perform under ordinary driving conditions, and
 27   contained tire failure and tread separation defects, 2) intentionally concealed the
 28   above from Plaintiff and Class members, and/or 3) made incomplete representations



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 1    about the safety, durability and performance of the Class Tires generally, while
 2    purposefully withholding material facts from Plaintiff and Class members that
 3    contradicted the representations.
 4           231. Defendants’ conduct and concealment of the true characteristics of the

 5    Class Tires were material to Plaintiff and the Florida Class members.
 6           232.    Defendants’ unfair or deceptive acts or practices were likely to and did
 7    in fact deceive reasonable consumers, including Plaintiff and Class members, about
 8    the safety, durability and performance of the Class Tires, as well as the absence of
 9    any value to the Class Tires.
 10          233.    Plaintiff and the Florida Class members suffered ascertainable loss and
 11   actual damages as a direct and proximate result of Defendants’ misrepresentations
 12   and concealment of and failure to disclose material information. Plaintiffs and the
 13   Florida Class members who purchased or acquired the Class Tires would not have
 14   purchased or acquired them at all if the true nature of the Class Tires had been
 15   disclosed.
 16          234.    Defendants had an ongoing duty to consumers of the Class Tires to
 17   refrain from unfair and deceptive practices under the Florida FTPA. Plaintiff and the
 18   Florida Class members suffered ascertainable losses and damages as a result of
 19   Defendants’ deceptive and unfair acts and practices made in the course of business.
 20          235.    Plaintiff and the Florida Class members risk irreparable injury as a result
 21   of Defendants’ acts and omissions in violation of the Florida FTPA, and these
 22   violations present a continuing risk to Plaintiff as well as to the general public.
 23   Defendants’ unlawful acts and practices set forth herein affect the public interest.
 24          236.    As a direct and proximate result of Defendants’ violations of the Florida
 25   FTPA, Plaintiff and the Florida Class members have suffered injury-in-fact and/or
 26   actual damage.
 27   ///
 28   ///



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 1             237.    Plaintiff and the Florida Class members are entitled to recover their
 2    actual damages under Fla. Stat. section 501.211(2) and attorney fees under Fla. Stat.
 3    section 501.2105.(1).
 4             238.    Plaintiff also seeks an order enjoining Defendants’ unfair, unlawful
 5    and/or deceptive practices, declaratory relief, attorney fees, and any other just and
 6    proper relief available under the FTPA.
 7                              EIGHTEENTH CLAIM FOR RELIEF
 8                                   Breach of Express Warranty
 9                                (F.S.A. sections 672.313 and 680.21)
 10                            (Brought on Behalf of the Florida Class)
 11            239. Plaintiff Nestor Diaz hereby incorporates by reference the allegations
 12   contained in the preceding paragraphs of this amended Complaint.
 13            240. Plaintiff Nestor Diaz brings this cause of action on behalf of himself and
 14   the Florida Class.
 15            241.    Defendants are and were at all relevant times “merchants” with respect
 16   to trailer tires under F.S.A. sections 672.104(1) and 680.1031(3)(k), and “sellers” of
 17   motor s under section 672.103(1)(d).
 18            242.    The Class Tires are and were at all relevant times “goods” within the
 19   meaning of F.S.A. sections 672.105(1) and 680.1031(1)(h).
 20            243.    In connection with the purchase or acquisition of the Class Tires,
 21   Defendants provided an express Limited Warranty Against Defects in Workmanship
 22   and Materials for the life of the original tread, or five years from date of purchase
 23   (whichever comes first).
 24            244.    The Defendants’ warranty formed a basis of the bargain that was
 25   reached when Plaintiff and Florida Class members purchased or acquired the Class
 26   Tires.
 27            245.    Plaintiff and the Florida Class members experienced defects within the
 28   warranty period. Despite the existence of the warranty, Defendants failed to inform



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 1    Plaintiff and the Florida Class members that the Class Tires were defective and
 2    unsafe, and prone to failure and tread separation.
 3           246.    The Defendants breached the express warranty provided to Plaintiff and
 4    Florida Class members. The Defendants have not replaced the Class Tires, and have
 5    been unable to repair or adjust the Class Tires’ materials and defects.
 6           247.    Furthermore, the Limited Warranty Against Defects in Workmanship
 7    and Materials fails in its essential purpose because the remedy is insufficient to make
 8    Plaintiff and the Florida Class members whole because Defendants have failed and/or
 9    refused to adequately provide the promised remedies within a reasonable time.
 10          248.    Thus, recovery by Plaintiffs and the Florida Class members is not
 11   restricted to the limited warranty promising to repair and/or correct a manufacturing
 12   defect, and Plaintiff, individually and on behalf of the Florida Class members, seeks
 13   all remedies allowed by law.
 14          249.    Further, as alleged in more detail herein, at the time the Class Tires were
 15   sold or acquired, Defendants knew that the Class Tires were defective and dangerous,
 16   and did not conform to their warranty. Defendants wrongfully and fraudulently
 17   concealed material facts regarding the Class Tires. Plaintiff and the Florida Class
 18   members were therefore induced to purchase or acquire the Class Tires under false
 19   and/or fraudulent pretenses.
 20          250.    Moreover, the injuries and damages flowing from the Class Tires cannot
 21   be resolved though the limited remedy of replacements or adjustments since the Class
 22   Tires are defective and dangerous, and because of Defendants’ failure and/or
 23   continued failure to provide such limited remedy within a reasonable time, any
 24   limitation on the remedies of the Plaintiff and Florida Class members would be
 25   insufficient to make Plaintiff and the Florida Class members whole.
 26          251.    Further, as a result of the Defendants’ breach of warranty as set forth
 27   herein, Plaintiff and the Florida Class members asserts, as additional and/or
 28   alternative remedies, the revocation of acceptance of the goods and the return to



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 1    Plaintiff and the Florida Class members of the purchase or acquisition price of all
 2    Class Tires currently owned or acquired, and for such other incidental and
 3    consequential damages, as allowed.
 4           252.    The Defendants were provided notice of these issues by the Complaint
 5    and Amended Complaint herein, and consumer complaints and correspondence
 6    regarding the Class Tires, within a reasonable amount of time.
 7           253.    As a direct and proximate result of the breach of express warranty by
 8    Defendants, Plaintiff and the Florida Class members have been damaged in an
 9    amount to be determined at trial.
 10                           NINETEENTH CLAIM FOR RELIEF
 11                      Breach of Implied Warranty of Merchantability
 12                            (F.S.A. section 672.314 and 680.212)
 13                          (Brought on Behalf of the Florida Class)
 14          254.    Plaintiff Nestor Diaz hereby incorporates by reference the allegations
 15   contained in the preceding paragraphs of this amended Complaint.
 16          255.    Plaintiff Nestor Diaz brings this cause of action on behalf of himself and
 17   the Florida Class.
 18          256.    Defendants are and were at all relevant times “merchants” with respect
 19   to trailer tires under F.S.A. sections 672.104(1) and 680.1031(3)(k), and “sellers” of
 20   trailer tires under section 672.103(1)(d).
 21          257.    The Class Tires are and were at all relevant times “goods” within the
 22   meaning of F.S.A. sections 672.105(1) and 680.1031(1)(h).
 23          258.    A warranty that the Class Tires were in merchantable condition and fit
 24   for the ordinary purpose for which trailer tires are used is implied pursuant to F.S.A.
 25   sections 672.314 and 680.212.
 26          259.    The Class Tires, when sold or acquired and at all times thereafter, were
 27   not in merchantable condition and are not fit for the ordinary purpose for which
 28   trailer tires are used. Specifically, the Class Tires are defective and dangerous in



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 1    that they are not safe and durable, do not perform under ordinary driving conditions,
 2    and are likely to fail while being operated.
 3           260.    Defendants breached the implied warranty of merchantability when they
 4    sold and marketed to Plaintiff and Florida Class Members the Class Tires, which did
 5    not conform to the promises or affirmations of fact contained in the advertising,
 6    promotional, marketing and warranty written materials relating to the Class Tires, and
 7    provided to Plaintiff and Florida Class Members.
 8           261.    Defendants were provided notice of these issues by numerous complaint
 9    letters and communications sent by Class members within a reasonable amount of
 10   time after the defects became known.
 11          262.    As a direct and proximate result of the breach of the implied warranty of
 12   merchantability by Defendants, Plaintiff and the Florida Class Members have been
 13   damaged in an amount to be proven at trial.
 14                           TWENTIETH CLAIM FOR RELIEF
 15                 Violations of New York General Business Law section 349
 16                              (N.Y. Gen. Bus. Law section 349)
 17                         (Brought on Behalf of the New York Class)
 18          263.    Plaintiff George Armstrong hereby incorporates by reference the
 19   allegations contained in the preceding paragraphs of this amended Complaint.
 20          264.    Plaintiff George Armstrong brings this cause of action of behalf of
 21   himself and the New York Class.
 22          265.    Plaintiff, the New York Class Members and Defendants are “persons”
 23   under N.Y. Gen. Bus. Law section 349(h), the New York Deceptive Acts and
 24   Practices Act. (“NYDAPA”).
 25          266.    Defendants’ actions as set forth herein occurred in the conduct of trade
 26   or commerce under the NYDAPA.
 27          267.    NYDAPA makes unlawful “[d]eceptive acts or practices in the conduct
 28   of any business, trade or commerce.” N.Y. Gen. Bus. Law section 349. Defendants’



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 1    conduct, as set forth herein, constitutes deceptive acts or practices under this section.
 2           268.    Defendants committed unfair business acts and practices when they
 3    concealed the existence and nature of the tire failure and tread separation defect, and
 4    represented that the Class Tires were safe, durable and would perform under ordinary
 5    conditions, when, in fact, the Class Tires do not have these characteristics. The tire
 6    failure/tread separation defect presents a safety hazard since a tire failure on the
 7    roadway is a dangerous and potentially life-threatening event.
 8           269.    Further, Defendants committed deceptive acts and practices when they
 9    concealed the existence of the defects and dangers of the Class Tires as set forth
 10   herein, while representing in their marketing, advertising, and other broadly
 11   disseminated representations that the Class Tires were safe, durable, and would
 12   perform in ordinary driving conditions. Defendants’ representations and active
 13   concealment of the tire failure and tread separation defect were likely to and did
 14   mislead the public with regard to the true defective nature of the Class Tires.
 15          270.    Defendants therefore violated the NYDAPA by, among other things,
 16   engaging in deceptive acts or practices, fraud, misrepresentations, or concealment,
 17   suppression or omission, in connection with the sale and/or acquisition of Class Tires.
 18          271.    Defendants owed Plaintiff and Class members a duty to disclose safety
 19   risks because Defendants 1) possessed exclusive knowledge that they were
 20   manufacturing, selling and distributing Class Tires throughout the United States that
 21   were not safe and durable, would not perform under ordinary driving conditions, and
 22   contained tire failure and tread separation defects, 2) intentionally concealed the
 23   above from Plaintiff and Class members, and/or 3) made incomplete representations
 24   about the safety, durability and performance of the Class Tires generally, while
 25   purposefully withholding material facts from Plaintiff and Class members that
 26   contradicted the representations.
 27          272. Defendants’ conduct and concealment of the true characteristics of the
 28   Class Tires were material to Plaintiff and the New York Class members.



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 1           273.    Defendants’ unfair or deceptive acts or practices were likely to and did
 2    in fact deceive reasonable consumers, including Plaintiff and Class members, about
 3    the safety, durability and performance of the Class Tires, as well as the absence of
 4    any value to the Class Tires.
 5           274.    Plaintiff and the New York Class members suffered ascertainable loss
 6    and actual damages as a direct and proximate result of Defendants’
 7    misrepresentations and concealment of and failure to disclose material information.
 8    Plaintiff and the New York Class members who purchased or acquired the Class
 9    Tires would not have purchased or acquired them at all if the true nature of the Class
 10   Tires had been disclosed.
 11          275.    Defendants had an ongoing duty to consumers of the Class Tires to
 12   refrain from unfair and deceptive practices under the NYDAPA. Plaintiff and the
 13   New York Class members suffered ascertainable losses and damages as a result of
 14   Defendants’ deceptive and unfair acts and practices made in the course of business.
 15          276.    Plaintiff and the New York Class members risk irreparable injury as a
 16   result of Defendants’ acts and omissions in violation of the NYDAPA, and these
 17   violations present a continuing risk to Plaintiff as well as to the general public.
 18   Defendants’ unlawful acts and practices set forth herein affect the public interest.
 19          277.    As a direct and proximate result of Defendants’ violations of the
 20   NYDAPA, Plaintiff and the New York Class members have suffered injury-in-fact
 21   and/or actual damage.
 22          278.    As a result of the foregoing willful, knowing, and wrongful conduct of
 23   Defendants, Plaintiff and the New York Class members have been damaged in an
 24   amount to be proven at trial, and seek all just and proper remedies, including but not
 25   limited to, actual damages of $50.00, whichever is greater, treble damages up to
 26   $1,000.00, punitive damages to the extent available under the law, reasonable
 27   attorney fees and costs, an order enjoining Defendants’ deceptive and unfair conduct,
 28   and all other just and appropriate relief under NYDAPA.



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 1                           TWENTY-FIRST CLAIM FOR RELIEF
 2                  Violations of New York General Business Law section 350
 3                               (N.Y. Gen. Bus. Law section 350)
 4                          (Brought on Behalf of the New York Class)
 5           279.    Plaintiff George Armstrong hereby incorporates by reference the
 6    allegations contained in the preceding paragraphs of this amended Complaint.
 7           280.    Plaintiff George Armstrong brings this cause of action on behalf of
 8    himself and the New York Class.
 9           281.    Defendants were engaged in the “conduct of business, trade or
 10   commerce,” within the meaning of N.Y. Gen. Bus. Law section 350, the New York
 11   False Advertising Act. (“NYFAA”).
 12          282.    The NYFAA makes unlawful “[f]alse advertising in the conduct of any
 13   business, trade or commerce.” N.Y. Gen. Bus. Law section 350. False advertising
 14   includes “advertising, including labeling, of a commodity . . . if such advertising is
 15   misleading in a material respect,” taking into account “the extent to which the
 16   advertising fails to reveal facts material in light of . . . representations [made] with
 17   respect to the commodity ….” N.Y. Gen. Bus. Law section 350-a.
 18          283.    Defendants caused to be made or disseminated through New York,
 19   through advertising, marketing, and other publications, statements and omissions that
 20   were untrue or misleading, and that were known by Defendants, or that through the
 21   exercise or reasonable care, should have been known by Defendants, to be untrue and
 22   misleading to Plaintiff and the New York Class members.
 23          284.    Defendants made numerous material misrepresentations and omissions
 24   of fact with intent to mislead and deceive concerning the Class Tires, particularly
 25   regarding the safety, durability and performance of the Class Tires. Specifically,
 26   Defendants intentionally concealed and suppressed material facts concerning the
 27   Class Tires, touting the benefits of the Class Tires while concealing the presence of
 28   the tire failure and tread separation defect.



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 1           285.    The misrepresentations and omissions set forth above were material and
 2    likely to deceive a reasonable consumer.
 3           286.    Defendants intentionally and knowingly misrepresented material facts
 4    regarding the Class Tires with the intent to mislead Plaintiff and New York Class
 5    members.
 6           287. Defendants’ false advertising was likely to and did in fact deceive
 7    reasonable consumers, including Plaintiff and New York Class members, about the
 8    true characteristics of the Class Tires, and the safety, durability and performance of
 9    the Class Tires.
 10          288.    Defendants’ violations of the NYFAA present a continuing risk to
 11   Plaintiff and to New York class members. Defendants’ deceptive acts and practices
 12   affect the public interest.
 13          289.    Plaintiff and New York Class members who purchased Class Tires
 14   would not have purchased them at all but for Defendants’ false advertising in
 15   violation of the NYFAA.
 16          290.    Plaintiff and New York Class members have suffered injury-in-fact
 17   and/or actual damages and ascertainable loss as a direct and proximate result of the
 18   Defendants’ false advertising in violation of the NYFAA, including complete lost
 19   value for the Class Tires they purchased or acquired, and annoyance, aggravation and
 20   inconvenience resulting from Defendants’ violations of the NYFAA.
 21          291.    Plaintiff and New York Class members seek monetary relief against
 22   Defendants measured as the greater of (a) actual damages in an amount to be
 23   determined at trial, and (b) statutory damages in the amount of $500.00 each for New
 24   York Class members. Because Defendants’ conduct was committed willingly and
 25   knowingly, Plaintiff and New York Class members are entitled to recover three times
 26   actual damages, up to $10,000.00.
 27          292.    Plaintiff and the New York Class members also seek an order enjoining
 28   Defendants’ false advertising, attorney fees, and any other just and proper relief under



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 1    N.Y. Gen. Bus. Law. Section 350.
 2                         TWENTY-SECOND CLAIM FOR RELIEF
 3                       Breach of Implied Warranty of Merchantability
 4                         (N.Y. U.C.C. Law sections 2-314 and 2A-212)
 5                          (Brought on Behalf of the New York Class)
 6           293.    Plaintiff George Armstrong hereby incorporates by reference the
 7    allegations contained in the preceding paragraphs of this amended Complaint.
 8           294.    Plaintiff George Armstrong brings this cause of action on behalf of
 9    himself and the New York Class.
 10          295.    Defendants are and were at all relevant times “merchants” with respect
 11   to trailer tires under N.Y. UCC Law section 2-104(1) and “sellers” of trailer tires
 12   under section 2-103(1)(d).
 13          296.    The Class Tires are and were at all relevant times “goods” within the
 14   meaning of N.Y. UCC Law sections 2-105(1) and 2A-103(1)(h).
 15          297.    A warranty that the Class Tires were in merchantable condition and fit
 16   for the ordinary purpose for which trailer tires are used is implied by law pursuant to
 17   N.Y. UCC Law sections 2-314 and 2A-212.
 18          298.    The Class Tires, when sold or acquired and at all times thereafter, were
 19   not in merchantable condition and are not fit for the ordinary purpose for which
 20   trailer tires are used. Specifically, the Class Tires are defective and dangerous in
 21   that they are not safe and durable, do not perform under ordinary driving conditions,
 22   and are likely to fail while being operated.
 23          299.    Defendants breached the implied warranty of merchantability when they
 24   sold and marketed to Plaintiff and New York Class members the Class Tires, which
 25   did not conform to the promises or affirmations of fact contained in the advertising,
 26   promotional, marketing and warranty written materials relating to the Class Tires, and
 27   provided to Plaintiff and New York Class members.
 28   ///



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 1           300.    Defendants were provided notice of these issues by numerous complaint
 2    letters and communications sent by Class members within a reasonable amount of
 3    time after the defects became known.
 4           301.    As a direct and proximate result of the breach of the implied warranty of
 5    merchantability by Defendants, Plaintiff and New York Class Members have been
 6    damaged in an amount to be proven at trial.
 7                          TWENTY-THIRD CLAIM FOR RELIEF
 8                                 Breach of Express Warranty
 9                         (N.Y. U.C.C. Law sections 2-313 and 2A-210)
 10                         (Brought on Behalf of the New York Class)
 11          302. Plaintiff George Armstrong hereby incorporates by reference the
 12   allegations contained in the preceding paragraphs of this amended Complaint.
 13          303. Plaintiff George Armstrong brings this cause of action on behalf of
 14   himself and the New York Class.
 15          304.    Defendants are and were at all relevant times “merchants” with respect
 16   to trailer tires under N.Y. UCC Law section 2-104(1) and “sellers” or trailer tires
 17   under section 2-103(1)(d).
 18          305.    The Class Tires are and were at all relevant times “goods” within the
 19   meaning of N.Y. UCC Law sections 2-105(1) and 2A-103(1)(h).
 20          306.    In connection with the purchase or acquisition of the Class Tires,
 21   Defendants provided an express Limited Warranty Against Defects in Workmanship
 22   and Materials for the life of the original tread, or five years from date of purchase
 23   (whichever comes first).
 24          307.    The Defendants’ warranty formed a basis of the bargain that was
 25   reached when Plaintiff and New York Class members purchased or acquired the
 26   Class Tires.
 27          308.    Plaintiff and the New York Class members experienced defects within
 28   the warranty period. Despite the existence of the warranty, Defendants failed to



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 1    inform Plaintiff and the New York Class members that the Class Tires were defective
 2    and unsafe, and prone to failure and tread separation.
 3           309.    The Defendants breached the express warranty provided to Plaintiff and
 4    New York Class members. The Defendants have not replaced the Class Tires, and
 5    have been unable to repair or adjust the Class Tires’ materials and defects.
 6           310.    Furthermore, the Limited Warranty Against Defects in Workmanship
 7    and Materials fails in its essential purpose because the remedy is insufficient to make
 8    Plaintiff and the New York Class members whole because Defendants have failed
 9    and/or refused to adequately provide the promised remedies within a reasonable time.
 10          311.    Thus, recovery by Plaintiffs and the New York Class members is not
 11   restricted to the limited warranty promising to repair and/or correct a manufacturing
 12   defect, and Plaintiff, individually and on behalf of the New York Class members,
 13   seeks all remedies allowed by law.
 14          312. Further, as alleged in more detail herein, at the time the Class Tires were
 15   sold or acquired, Defendants knew that the Class Tires were defective and dangerous,
 16   and did not conform to their warranty. Defendants wrongfully and fraudulently
 17   concealed material facts regarding the Class Tires. Plaintiff and the New York Class
 18   members were therefore induced to purchase or acquire the Class Tires under false
 19   and/or fraudulent pretenses.
 20          313.    Moreover, the injuries and damages flowing from the Class Tires cannot
 21   be resolved though the limited remedy of replacements or adjustments since the Class
 22   Tires are defective and dangerous, and because of Defendants’ failure and/or
 23   continued failure to provide such limited remedy within a reasonable time, any
 24   limitation on the remedies of the Plaintiff and New York Class members would be
 25   insufficient to make Plaintiff and the New York Class members whole.
 26          314.    Further, as a result of the Defendants’ breach of warranty as set forth
 27   herein, Plaintiff and the New York Class members assert, as additional and/or
 28   alternative remedies, the revocation of acceptance of the goods and the return to



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 1    Plaintiff and the New York Class members of the purchase or acquisition price of all
 2    Class Tires currently owned or acquired, and for such other incidental and
 3    consequential damages, as allowed.
 4           315.    The Defendants were provided notice of these issues by the Complaint
 5    and Amended Complaint herein, and consumer complaints and correspondence
 6    regarding the Class Tires, within a reasonable amount of time.
 7           316.    As a direct and proximate result of the breach of express warranty by
 8    Defendants, Plaintiff and the New York Class members have been damaged in an
 9    amount to be determined at trial.
 10                                   PRAYER FOR RELIEF
 11          WHEREFORE, Plaintiffs, individually and on behalf of members of the
 12   Nationwide Class and their respective State Classes, pray for relief as follows:
 13          1.      An Order certifying the proposed Nationwide Class and State Classes,
 14   designating Plaintiffs as the named representatives of the Nationwide Class and
 15   respective State Classes, and designating the undersigned as Class Counsel;
 16          2.      A declaration that Defendants are financially responsible for notifying
 17   all Class Members about the true nature of the Class Tires;
 18          3.      An Order enjoining Defendants to desist from further unlawful,
 19   deceptive, fraudulent, harmful and unfair business, marketing and sales practices with
 20   respect to the Class Tires;
 21          4.      An Order compelling Defendants to buy back, or replace, the Class Tires
 22   on fair and equitable terms;
 23          5.      An award to Plaintiffs and Class Members of actual, compensatory,
 24   exemplary and punitive damages, statutory penalties and damages under applicable
 25   states’ laws, restitution, and disgorgement, in an amount to be proven at trial;
 26          6.      Equitable and injunctive relief as may be necessary to protect the
 27   interests of Plaintiffs and Class Members, including disgorgement and restitution of
 28   all monies received by Defendants as a result of their wrongful conduct;



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 1           7.     Any and all applicable statutory and civil penalties;
 2           8.     An award of reasonable attorney fees and costs, as permitted by law;
 3           9.     An award of pre-judgment and post-judgment interest, as permitted by
 4    law;
 5           10.    Leave to amend this Complaint to conform to the evidence produced at
 6    trial; and
 7           11.     Such other and further relief as may be appropriate.
 8                                DEMAND FOR JURY TRIAL
 9           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
 10   demand a trial by jury of any and all issues so triable of right.
 11   Dated: June 9, 2017                     Respectfully submitted,
 12
 13
                                           By:/s/ Dan C. Bolton
                                             Daniel L. Keller
 14                                          Stephen M. Fishback
 15                                          Dan C. Bolton
                                             KELLER, FISHBACK & JACKSON LLP
 16
                                             28720 Canwood Street, Suite 200
 17                                          Agoura Hills, CA 91301
                                             Telephone: (818) 342-7442
 18
                                             Facsimile: (818) 342-7616
 19                                          Email: dkeller@kfjlegal.com
 20                                          Email: dbolton@kfjlegal.com
 21                                           Attorneys for Plaintiffs Julie Hamilton, Jerad
 22                                           Hamilton, Kyle McLean, Sam Flowers, Nestor
                                              Diaz and George Armstrong, and the Proposed
 23
                                              Nationwide Class and State Classes
 24
 25
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 27
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